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                      Exhibit A
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                                   Texas v. Biden Monthly Report
                        Reporting Period: January 1, 2022 – January 31, 2022


(1) The total monthly number of encounters1 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions2 between the ports of entry along the
SWB, Office of Field Operations (OFO) Title 8 Inadmissibles3 at land ports of entry along the SWB, and Title
42 Expulsions4 at and between the ports of entry along the SWB.


                    January 2022 as of February 3, 2022              Title 42      Title 8 Total Encounters
                    Office of Field Operations                          2,188       4,811             6,999
                      El Paso Field Office                                161          608              769
                      Laredo Field Office                               1,160       1,514             2,674
                      San Diego Field Office                              647       2,357             3,004
                      Tucson Field Office                                 220          332              552
                    U.S. Border Patrol                                 76,298      70,644           146,942
                      Big Bend Sector                                   1,949          391            2,340
                      Del Rio Sector                                   11,063      19,710            30,773
                      El Centro Sector                                  2,669       2,161             4,830
                      El Paso Sector                                   11,741       6,297            18,038
                      Laredo Sector                                     6,799          574            7,373
                      Rio Grande Valley Sector                         14,616      15,564            30,180
                      San Diego Sector                                  9,492       2,735            12,227
                      Tucson Sector                                    15,469       2,223            17,692
                      Yuma Sector                                       2,500      20,989            23,489
                    Grand Total                                        78,486      75,455           153,941




1
  The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
2
  Apprehension refers to the physical control or temporary detainment of a person who is not lawfully in the U.S. which may or may
not result in an arrest.
3
  Inadmissible refers to individuals encountered at ports of entry who are seeking lawful admission into the United States but are
determined to be inadmissible, individuals presenting themselves to seek humanitarian protection under our laws, and individuals who
withdraw an application for admission and return to their countries of origin within a short timeframe.
4
  Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of last transit or home country in the
interest of public health under Title 42 U.S.C. 265.

                                                                 1
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(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any other statute;

            Title 42 expulsions at and between the ports of entry along the SWB5
                    January 2022 as of February 3, 2022        Title 42
                    Office of Field Operations                      2,188
                      El Paso Field Office                            161
                      Laredo Field Office                           1,160
                      San Diego Field Office                          647
                      Tucson Field Office                             220
                    U.S. Border Patrol                             76,298
                      Big Bend Sector                               1,949
                      Del Rio Sector                               11,063
                      El Centro Sector                              2,669
                      El Paso Sector                               11,741
                      Laredo Sector                                 6,799
                      Rio Grande Valley Sector                     14,616
                      San Diego Sector                              9,492
                      Tucson Sector                                15,469
                      Yuma Sector                                   2,500
                    Grand Total                                    78,486

            Southwest Land Border Removals/Returns under Title 8, based on encounter date6
                  Total Removals and Returns Under Title 8
                  U.S. Border Patrol                                            5,136
                                     7
                    Bag and Baggage                                                34
                                     8
                    Voluntary Return                                            2,199
                    Expedited Removal                                           1,243
                    Reinstatement of Removal                                    1,448
                    Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)                  212
                  Office of Field Operations                                    1,639
                    Bag and Baggage                                                 1
                    Voluntary Return                                               37
                    Expedited Removal                                             415
                    Reinstatement of Removal                                        1
                    Withdrawal of Application for Admission                     1,185


5
  Same as Title 42 expulsion data provided in response to 1 above.
6
  Indicates that the noncitizen was encountered during the reporting period (January 1, 2022 – January 31, 2022).
7
  When a noncitizen encountered or apprehended by CBP has been previously ordered removed by an immigration judge and the order
was never executed (i.e., in absentia). The removal order may be immediately executed by CBP or CBP may turn the noncitizen over
to ICE for removal.
8
  Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on a voluntary basis, in lieu of being
formally removed or placed into removal proceedings.

                                                                   2
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                   Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)
                 Grand Total                                                                         6,775


(3) Defendants’ total detention capacity as well as current usage rates;

         OFO Holding Capacity – Southwest Border in Custody9
                Detention Capacity      January 2022
                        935              289 (30.9%)10

         USBP Average Daily Subjects In Custody by Southwest Border Sector11
                USBP Sector      January 2022
                Big Bend                       27
                Del Rio                     1,619
                El Centro                     314
                El Paso                     1,757
                Laredo                        938
                Rio Grande                  2,122
                San Diego                     694
                Tucson                        368
                Yuma                        1,691
                Total                       9,530




9
  Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied
by the total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances
that may limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it
reflect operational limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities
depends on many factors, including: demographics of the individual in custody; medical or other needs of individuals in custody;
ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of
CBP custody; and OFO's available resources to safely process and hold individuals.
10
   Represents the average number of travelers in custody on a daily basis averaged over the 30-day period, at all Southwest Border
Field Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees, and United States
Citizens who are being detained to verify wants, warrants, criminal, administrative or other judicial process.
11
   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing
and transfer of individuals encountered by agents. Maximum facility capacity along the southwest border is approximately 5,000,
which assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on
characteristics of in-custody population, to include demographics, gender, criminality, etc. The average percentage of subjects in
custody on a daily basis is 190.6%, which is averaged over the 30-day period and includes all Southwest Border Sector locations.

                                                                    3
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(4) The total monthly number of “applicants for admission”12 under Section 1225;

                    January 2022 as of February 3, 2022                       Title 8
                    Office of Field Operations                                         4,811
                      El Paso Field Office                                               608
                      Laredo Field Office                                              1,514
                      San Diego Field Office                                           2,357
                      Tucson Field Office                                                332
                    U.S. Border Patrol                                                70,644
                      Big Bend Sector                                                    391
                      Del Rio Sector                                                  19,710
                      El Centro Sector                                                 2,161
                      El Paso Sector                                                   6,297
                      Laredo Sector                                                      574
                      Rio Grande Valley Sector                                        15,564
                      San Diego Sector                                                 2,735
                      Tucson Sector                                                    2,223
                      Yuma Sector                                                     20,989
                    Grand Total                                                       75,455


(5) The total monthly number of “applicants for admission” under Section 1225 paroled into the United
    States; and
                                                                 January 2022 Paroles
                Southwest Border Paroles
                      U.S. Border Patrol                                                                     13,275
                        Parole Disposition                                                                   13,275
                      Office of Field Operations                                                              3,185
                        NTA and Paroled into the U.S. on a case-by-
                                                                                                              2,379
                        case basis pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                      806
                      Grand Total                                                                            16,460




12
  An applicant for admission is defined as “[a]n alien present in the United States who has not been admitted or who arrives in
the United States (whether or not at a designated port of arrival and including an alien who is brought to the United States after having
been interdicted in international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include
noncitizens that have never been encountered by CBP. At this time, CBP does not have a mechanism to track all applicants for
admission in the United States that are not encountered by CBP. CBP has included the same data as the Title 8 encounter data
provided in response to 1 above.

                                                                    4
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(6) The total monthly number of “applicants for admission” under Section 1225 released into the United
    States, paroled or otherwise.”13

                                                                                                       January 2022 Releases
                      Southwest Border Releases

                      U.S. Border Patrol                                                                                       43,001
                        Notice To Report14
                        Notice to Appear - Order of Release on Recognizance                                                    29,726
                        Parole Disposition                                                                                     13,275
                      Office of Field Operations                                                                                3,185
                        NTA and Paroled into the U.S. on a case-by-case basis
                                                                                                                                2,379
                        pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                                        806
                      Grand Total                                                                                              46,186




13All numbers in reporting requirement 6 are “based on encounter date,” as defined above.
14Individuals who are screened by CBP, and after criminal and immigration records checks are conducted to determine if the subject is a threat to
national security or public safety, are then released and instructed to report to U.S. Immigration and Customs Enforcement (ICE) for continued
processing.
                                                                         5
